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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-10-108-1
                                            §
                                            §
                                            §
ANTONIO DURAN                               §


                                       ORDER

       Defendant Duran filed an unopposed motion for continuance of the sentencing hearing

and an unopposed motion to extend time for filing objections, (Docket Entry Nos. 119 and

120). The motions are GRANTED. The sentencing hearing is reset to May 10, 2011at 9:00

a.m. Objections to the presentence investigation report are to be filed by April 26, 2011.



             SIGNED on February 7, 2011, at Houston, Texas.

                                          ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge
